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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

              Plaintiff/Respondent,

              v.                                          Case No. 13-40074-03-JAR
                                                          Case No. 16-4163-JAR
NICHOLE LYNN YOHE,

              Defendant/Petitioner.



                                 MEMORANDUM AND ORDER

       This matter is before the Court on Petitioner Nichole Yohe’s Motion to Correct and

Modify her Sentence pursuant to 28 U.S.C. § 2255 (Doc. 203). Petitioner asks the Court to

reduce her sentence under Amendment 794 of the United States Sentencing Commission

Guidelines Manual. The Government has responded and moves the Court to dismiss Petitioner’s

motion as untimely if filed under § 2255 and that the Court lacks jurisdiction if the motion was

filed under Amendment 794 (Doc. 205). For the reasons explained in detail below, the Court

grants the Government’s motion.

I.     Procedural and Factual Background

       On December 9, 2013, Petitioner entered a guilty plea to Count One of the Indictment,

conspiracy to possess with the intent to distribute methamphetamine, in violation of 21 U.S.C.

§ 846.1 In anticipation of sentencing, a Presentence Investigation Report (“PSR”) was prepared,

which determined that Petitioner was responsible for at least 13,000 kilograms but less than

30,000 kilograms of marijuana, resulting in a base offense level of 36.2 Petitioner was assessed a


       1
           Doc. 79.
       2
           Doc. 93 at 14.




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two-point enhancement pursuant to U.S.S.G. § 2D1.1(b)(1) for possession of a sawed-off

shotgun, and awarded the relevant reductions pursuant to § 3E1.1, resulting in a total offense

level of 35.3 Petitioner’s criminal history category was III, resulting in a final Guideline range of

210 to 235 months.4 Petitioner was provided an additional two-point reduction in anticipation of

the enactment of Amendment 782 to the Guidelines, resulting in a modified Guidelines range of

168 to 210 months.5

       In advance of the sentencing hearing, the Government filed a Motion regarding

sentencing, in which it requested a downward departure of more than fifty percent of Petitioner’s

applicable Guidelines range.6 The Court granted the Government’s motion, and on April 9,

2014, Petitioner was sentenced to 84 months’ imprisonment.7 She did not file a direct appeal in

this matter. On August 13, 2015, the Court denied Petitioner’s request for a sentence reduction

pursuant to Amendment 782 to the Guidelines, as her sentence was outside the advisory

guideline range due in part to the anticipation of the amendment.8 The instant motion was filed

October 21, 2016.

II.    Discussion

       Section 2255 as a one-year statute of limitations, which runs from the latest of: (1) the

date of the final judgment of conviction, (2) the date that the government removes an unlawful

impediment to making a motion, (3) the date when the Supreme Court recognizes a right and

makes it retroactive on collateral review, or (4) the date on which the facts supporting the claim


       3
           Id.
       4
           Id. at 22.
       5
           Doc. 121.
       6
           Doc. 113.
       7
           Doc. 120.
       8
           Doc. 202.




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could have been discovered through exercise of due diligence.9 The Court entered Judgment on

April 10, 2014.10 Under Rule 4(b) of the Federal Rules of Appellate Procedure, Petitioner’s

judgment became final fourteen days later, on April 24, 2014, as she did not file a direct appeal

of her judgment of conviction.11 Thus, in order to be timely under § 2255(f)(1), Petitioner was

required to file her § 2255 motion by April 24, 2015. Petitioner filed the instant § 2255 motion

on October 21, 2016, over one year after the one-year limitations period ran.

         The one-year statute of limitations is subject to equitable tolling, but only in “rare and

exceptional circumstances.”12 Petitioner has the burden of establishing that equitable tolling

should apply.13 Petitioner has not demonstrated that equitable tolling applies in the case.

Instead, Petitioner argues that she is entitled to a minor role reduction based on Amendment 794,

relying on United States v. Quintero-Leyva, where the Ninth Circuit held that Amendment 794

“resolved a circuit split and was intended as a clarifying amendment . . . therefore it applies

retroactively to direct appeals.”14 Quintero-Layva, however, did not determine that Amendment

794 applies retroactively to cases on collateral review. Petitioner’s § 2255 motion seeks

collateral review of her sentence; it is not a direct appeal. As noted, Petitioner did not appeal her

sentence. Because no court has concluded that Amendment 794 applies to cases on collateral




         9
             28 U.S.C. § 2255(f).
         10
              Doc. 120.
         11
            See United States v. Prows, 448 F.3d 1223, 1227 (10th Cir. 2006) (holding “[i]n the context of the one-
year limitation period for filing a § 2255 motion, a criminal conviction becomes final when the Supreme Court
affirms it on direct review, denies certiorari, or (in the absence of a certiorari petition) the time for filing a certiorari
petition expires.”).
         12
              See Gibson v. Klinger, 232 F.3d 799, 808 (10th Cir. 2000).
         13
           See Miller v. Marr, 141 F.3d 976, 978 (10th Cir. 1998) (refusing to apply equitable tolling because
petitioner “provided no specificity regarding the alleged lack of access and the steps he took to diligently pursue his
federal claims”).
         14
              823 F.3d 519, 523 (9th Cir. 2016).




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review, § 2255(f)(3) does not apply. Further, Amendment 794 to the sentencing Guidelines is

not a “fact” relating to her criminal history and does not otherwise permit Petitioner to invoke

§ 2255(f)(4).15 Finally, even if the Amendment applied, there was no factual basis for applying

the minor role adjustment and Petitioner did not seek to have the adjustment considered at her

sentencing.16

           For these reasons, the Court concludes that Petitioner’s § 2255 motion is untimely and

that she has failed to show that the one-year statute of limitations does not apply. Amendment

794 has not been made retroactively applicable to cases on collateral review, only cases on direct

appeal. Moreover, there was no factual support for applying a minor role adjustment before the

Court at the time of sentencing. Accordingly, Petitioner’s motion is denied and this case is

dismissed for lack of jurisdiction.

           Certificate of Appealability

           Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255 Proceedings

requires the Court to grant or deny a certificate of appealability (“COA”) when making a ruling

adverse to the petitioner. “A certificate of appealability may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right.”17 A petitioner may satisfy his

burden only if “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.”18 A petitioner is not required to demonstrate that his appeal will

succeed to be entitled to a COA. He must, however, “prove something more than the absence of


           15
                United States v. Harrison, ---F. App’x ---, 2017 WL 710426, at *2 (10th Cir. Feb. 23, 2017) (citations
omitted).
           16
                See PSR, Doc. 93; Sentencing Memorandum, Doc. 96.
           17
            28 U.S.C. § 2253(c)(2). The denial of a § 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C. § 2253(c)(1).
           18
                Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v. Dretke, 524 U.S. 274, 282
(2004)).




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frivolity or the existence of mere good faith.”19 “This threshold inquiry does not require full

consideration of the factual or legal bases adduced in support of the claims. In fact, the statute

forbids it.”20 For the reasons detailed in this Memorandum and Order, Petitioner has not made a

substantial showing of the denial of a constitutional right, and the Court denies a COA as to its

ruling dismissing her § 2255 motion.

       IT IS THEREFORE ORDERED BY THE COURT that Petitioner Nichole Yohe’s

Motion to Correct and Modify her Sentence pursuant to 28 U.S.C. § 2255 (Doc. 203) is

DISMISSED as untimely. Petitioner is also denied a COA.

       IT IS SO ORDERED.


       Dated: March 13, 2017
                                                                 S/ Julie A. Robinson
                                                                 JULIE A. ROBINSON
                                                                 UNITED STATES DISTRICT JUDGE




       19
            Miller-El v. Cockrell, 537 U.S. 322, 338 (2003).
       20
            Id. at 336; see also United States v. Silva, 430 F.3d 1096, 1100 (10th Cir. 2005).




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